         Case 23-13430-VFP                       Doc 1     Filed 04/23/23 Entered 04/23/23 08:04:27                              Desc Main
                                                          Document      Page 1 of 122
Fill in this information to identify the case:

United States Bankruptcy Court for the:
                            District of New Jersey
                                          (State)                                                                                  ☐ Check if this is an
Case number (if known):                                        Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                    06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               One Kings Lane LLC


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer              2         7    –      1     4     3      4       7      5     9
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                     Mailing address, if different from principal place
                                                                                                       of business
                                       650 Liberty Avenue
                                       Number                Street                                    Number         Street


                                                                                                       P.O. Box
                                       Union, New Jersey 07083
                                          City                             State       Zip Code        City                         State     Zip Code

                                                                                                       Location of principal assets, if different from
                                                                                                       principal place of business
                                       Union County
                                          County                                                       Number         Street




                                                                                                       City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.bedbathandbeyond.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
         Case 23-13430-VFP                 Doc 1        Filed 04/23/23 Entered 04/23/23 08:04:27                                Desc Main
                                                       Document      Page 2 of 122
Debtor            One Kings Lane LLC                                                  Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            4422 (Home Furnishings Stores)

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☐      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
         Case 23-13430-VFP                Doc 1        Filed 04/23/23 Entered 04/23/23 08:04:27                                   Desc Main
                                                      Document      Page 3 of 122
Debtor           One Kings Lane LLC                                                Case number (if known)
          Name



10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                      Relationship    Affiliate
                                                    Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                        District      District of New Jersey
   List all cases. If more than 1,                                                                                 When            04/23/2023
   attach a separate list.                        Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this     Check all that apply:
    district?
                                      ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have       ☒ No
    possession of any real            ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?
                                                ☐     It needs to be physically secured or protected from the weather.

                                                ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                       (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                       other options).
                                                ☐     Other


                                                Where is the property?
                                                                                      Number          Street



                                                                                      City                                 State       Zip Code



                                                Is the property insured?
                                                ☐ No

                                                ☐ Yes.         Insurance agency

                                                               Contact name
                                                               Phone




                  Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                     ☒ Funds will be available for distribution to unsecured creditors.
                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of              ☐     1-49                         ☐     1,000-5,000                      ☒     25,001-50,000
    creditors (on a                  ☐     50-99                        ☐     5,001-10,000                     ☐     50,001-100,000
    consolidated basis)              ☐     100-199                      ☐     10,001-25,000                    ☐     More than 100,000
                                     ☐     200-999




   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
         Case 23-13430-VFP                   Doc 1       Filed 04/23/23 Entered 04/23/23 08:04:27                                    Desc Main
                                                        Document      Page 4 of 122
Debtor            One Kings Lane LLC                                                  Case number (if known)
          Name



15. Estimated assets (on a            ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)               ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on         ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)             ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         04/23/2023
                                                               MM/ DD / YYYY


                                               /s/                                                                Holly Etlin
                                               Signature of authorized representative of debtor                Printed name

                                               Title   Chief Restructuring Officer




18. Signature of attorney                      /s/ Michael D. Sirota                                          Date        04/23/2023
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Michael D. Sirota
                                               Printed name
                                               Cole Schotz P.C.
                                               Firm name
                                               Court Plaza North, 25 Main Street
                                               Number                 Street
                                                                                                                         New
                                               Hackensack                                                               Jersey          07601
                                               City                                                                   State               ZIP Code

                                               (201) 489-3000                                                         msirota@coleschotz.com
                                               Contact phone                                                              Email address
                                               014321986                                           New Jersey
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
         Case 23-13430-VFP                   Doc 1     Filed 04/23/23 Entered 04/23/23 08:04:27                         Desc Main
                                                      Document      Page 5 of 122



     Fill in this information to identify the case:
                                                                                     ,
     United States Bankruptcy Court for the:
                                District of New Jersey
                                            (State)                                                                  ☐ Check if this is an
     Case number (if known):                              Chapter     11                                                 amended filing


                                                        Rider 1
                         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

            On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
    States Bankruptcy Court for the District of New Jersey for relief under chapter 11 of title 11 of the United States Code.
    The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
    case of Bed Bath & Beyond Inc.

•     Bed Bath & Beyond Inc.                          •   Bed Bath & Beyond of Opry Inc.              •   Harmon of Hanover, Inc.
•     Alamo Bed Bath & Beyond Inc.                    •   Bed Bath & Beyond of Overland Park Inc.     •   Harmon of Hartsdale, Inc.
•     BBB Canada LP Inc.                              •   Bed Bath & Beyond of Palm Desert Inc.       •   Harmon of Manalapan, Inc.
•     BBB Value Services Inc.                         •   Bed Bath & Beyond of Paradise Valley Inc.   •   Harmon of Massapequa, Inc.
•     BBBY Management Corporation                     •   Bed Bath & Beyond of Pittsford Inc.         •   Harmon of Melville, Inc.
•     BBBYCF LLC                                      •   Bed Bath & Beyond of Portland Inc.          •   Harmon of New Rochelle, Inc.
•     BBBYTF LLC                                      •   Bed Bath & Beyond of Rockford Inc.          •   Harmon of Newton, Inc.
•     Bed Bath & Beyond of Annapolis, Inc.            •   Bed Bath & Beyond of Towson Inc.            •   Harmon of Old Bridge, Inc.
•     Bed Bath & Beyond of Arundel Inc.               •   Bed Bath & Beyond of Virginia Beach Inc.    •   Harmon of Plainview, Inc.
•     Bed Bath & Beyond of Baton Rouge Inc.           •   Bed Bath & Beyond of Waldorf Inc.           •   Harmon of Raritan, Inc.
•     Bed Bath & Beyond of Birmingham Inc.            •   Bed Bath & Beyond of Woodbridge Inc.        •   Harmon of Rockaway, Inc.
•     Bed Bath & Beyond of Bridgewater Inc.           •   bed 'n bath Stores Inc.                     •   Harmon of Shrewsbury, Inc.
•     Bed Bath & Beyond of California Limited
                                                      •   Bed, Bath & Beyond of Manhattan, Inc.       •   Harmon of Totowa, Inc.
      Liability Company
•     Bed Bath & Beyond of Davenport Inc.             •   Buy Buy Baby of Rockville, Inc.             •   Harmon of Wayne, Inc.
•     Bed Bath & Beyond of East Hanover Inc.          •   Buy Buy Baby of Totowa, Inc.                •   Harmon of Westfield, Inc.
•     Bed Bath & Beyond of Edgewater Inc.             •   Buy Buy Baby, Inc.                          •   Harmon of Yonkers, Inc.
•     Bed Bath & Beyond of Falls Church, Inc.         •   BWAO LLC                                    •   Harmon Stores, Inc.
•     Bed Bath & Beyond of Fashion Center, Inc.       •   Chef C Holdings LLC                         •   Liberty Procurement Co. Inc.
•     Bed Bath & Beyond of Frederick, Inc.            •   Decorist, LLC                               •   Of a Kind, Inc.
•     Bed Bath & Beyond of Gaithersburg Inc.          •   Deerbrook Bed Bath & Beyond Inc.            •   One Kings Lane LLC
•     Bed Bath & Beyond of Gallery Place L.L.C.       •   Harmon of Brentwood, Inc.                   •   San Antonio Bed Bath & Beyond Inc.
•     Bed Bath & Beyond of Knoxville Inc.             •   Harmon of Caldwell, Inc.                    •   Springfield Buy Buy Baby, Inc.
•     Bed Bath & Beyond of Lexington Inc.             •   Harmon of Carlstadt, Inc.
•     Bed Bath & Beyond of Lincoln Park Inc.          •   Harmon of Franklin, Inc.
•     Bed Bath & Beyond of Louisville Inc.            •   Harmon of Greenbrook II, Inc.
•     Bed Bath & Beyond of Mandeville Inc.            •   Harmon of Hackensack, Inc.
Case 23-13430-VFP              Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27               Desc Main
                                       Document      Page 6 of 122


                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY

                                                       )
    In re:                                             )    Chapter 11
                                                       )
    ONE KINGS LANE LLC,                                )    Case No. 23-___________(___)
                                                       )
                             Debtor.                   )    (Joint Administration Requested)
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS 1

             Equity Holder               Address of Equity Holder            Percentage of Equity Held
                                             650 Liberty Avenue
       Bed Bath & Beyond Inc.                                                           100%
                                          Union, New Jersey 07083




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
Case 23-13430-VFP           Doc 1     Filed 04/23/23 Entered 04/23/23 08:04:27                  Desc Main
                                     Document      Page 7 of 122


                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 ONE KINGS LANE LLC,                                  )      Case No. 23-___________(___)
                                                      )
                          Debtor.                     )      (Joint Administration Requested)
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                Shareholder                               Approximate Percentage of Shares Held
           Bed Bath & Beyond Inc.                                        100%
                   Case 23-13430-VFP                 Doc 1        Filed 04/23/23 Entered 04/23/23 08:04:27                                       Desc Main
                                                                 Document      Page 8 of 122


    Fill in this information to identify the case:

    Debtor name:                    Bed Bath & Beyond Inc, et al.
    United States Bankruptcy Court for the ___District of New Jersey
                                                  (State)
    Case number (If known):                                                                                                                      ☐ Check if this is an
                                                                                                                                                 amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders1                               12/15

A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
        Name of creditor and complete mailing     Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
            address, including zip code              address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                            example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                              debts, bank          disputed        secured, fill in total claim amount and
                                                                                                 loans,                            deduction for value of collateral or setoff to
                                                                                             professional                          calculate unsecured claim.
                                                                                             services, and                          Total      Deduction         Unsecured claim
                                                                                             government                            claim, if   for value
                                                                                               contracts)                          partially       of
                                                                                                                                   secured     collateral
                                                                                                                                               or setoff
                                                CLAYTON COLQUITT
            BNY MELLON                          (412)-236-5807
    1
            500 ROSS ST 12TH FLOOR              CLAYTON.COLQUITT@BNYMELLON.                 UNSECURED
            PITTSBURGH, PA 15262                COM                                           BONDS                                                          $1,184,694,000.00

            PERSONALIZATIONMALL                 ROBERT TURNER
    2
            51 SHORE DR                         (630)-910-6000                                 TRADE
            BURR RIDGE, IL 60527                ROBERTT@PMALL.COM                             PAYABLE                                                           $11,095,721.42

            INTERSOFT DATA LABS INC             RALPH LIUZZO
    3
            1330 W FULTON MARKET                (410)-461-4723                                 TRADE
            CHICAGO, IL 60607                   RALPH.LIUZZO@INTSOF.COM                       PAYABLE                                                           $6,836,763.63
            FEDERAL HEATH SIGN
            COMPANY LLC                         SUSAN ALDRIDGE
    4
            P.O. BOX 678203                     (800)-342-2597                                 TRADE
            TAMPA, FL 33626                     SALDRIDGE@FEDERALHEATH.COM                    PAYABLE                                                           $6,770,268.26

            KDM POPSOLUTIONS GROUP              BILL ZIMMERMAN
    5
            10450 MEDALLION                     (513)-769-3500                                 TRADE
            CINCINNATI, OH 45241                B.ZIMMERMAN@KDMPOP.COM                        PAYABLE                                                           $6,641,012.24
            COMMISSION JUNCTION INC
            530 E. MONTECITO STREET             SOPHIE RAMOS
    6
            #106                                (805)-971-3037                                 TRADE
            SANTA BARBARA, CA 93103             CJAR@CJ.COM                                   PAYABLE                                                           $6,162,076.79
                                                ROBERT GIOVINO
            IDX                                 (800)-939-4170
    7
            101 RIVER RIDGE                     ROBERT.GIOVINO@IDXCORPORATI                    TRADE
            JEFFERSONVILLE, IN 47130            ON.COM                                        PAYABLE                                                           $4,920,884.34




1
          On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, and Debtors with
          respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect any Debtor’s right to challenge the amount
          or characterization of any claim at a later date.

    Official Form 204                                 List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                      Page 1
               Case 23-13430-VFP                 Doc 1        Filed 04/23/23 Entered 04/23/23 08:04:27                                       Desc Main
                                                             Document      Page 9 of 122
    Name of creditor and complete mailing     Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
        address, including zip code              address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                        example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                          debts, bank          disputed        secured, fill in total claim amount and
                                                                                             loans,                            deduction for value of collateral or setoff to
                                                                                         professional                          calculate unsecured claim.
                                                                                         services, and                          Total      Deduction         Unsecured claim
                                                                                         government                            claim, if   for value
                                                                                           contracts)                          partially       of
                                                                                                                               secured     collateral
                                                                                                                                           or setoff


        NATIONAL TREE COMPANY               DONNA CYRIL
8
        2 COMMERCE DRIVE                    (800)-280-8733                                 TRADE
        CRANFORD, NJ 07016                  DONNA@NATIONALTREE.COM                        PAYABLE                                                           $4,527,134.54
        NORTH AMERICAN
        CORPORATION                         KRISTIE SCHNIER
9
        2101 CLAIRE COURT                   (847)-832-4000                                 TRADE
        GLENVIEW, IL 60025                  KSCHNIER@NA.COM                               PAYABLE                                                           $4,384,027.43
                                            ANDREA GRASSI
        KEECO LLC                           (212)-685-9077
10
        30736 WIEGMAN ROAD                  ANDREAG@GRASSIASSOCIATESINC.                   TRADE
        HAYWARD, CA 94544                   COM                                           PAYABLE                                                           $4,231,687.55

        FEDEX                               GREGORY DI SESSA
11
        P.O. BOX 371461                     (201)-787-0091                                 TRADE
        PITTSBURGH, PA 15250                GJDISESSA@FEDEX.COM                           PAYABLE                                                           $3,884,415.89
                                            CINDY TREAGER
        TEMPUR-PEDIC                        (859)-455-2483
12
        2 COMMERCE DRIVE                    CINDY.TREAGER@TEMPURSEALY.C                    TRADE
        CRANFORD, NJ 07016                  OM                                            PAYABLE                                                           $3,733,616.10
        FACEBOOK, INC.
        15161 COLLECTIONS CENTER            MARVIN ROBLES
13
        DRIVE                               (512)-543-2942                                 TRADE
        CHICAGO, IL 60693                   IDOAN@FACEBOOK.COM                            PAYABLE                                                           $3,428,867.98

        ARTSANA USA INC                     STEVE RUBIN
14
        1826 WILLIAM PENN WAY               (877)-424-4226                                 TRADE
        LANCASTER, PA 17601                 STEVE.RUBIN@ARTSANA.COM                       PAYABLE                                                           $3,323,738.80
                                            CAROL MARKS
        LIFETIME BRANDS INC                 (609)-241-7321
15
        150 EAST 58TH STREET                CAROL.MARKS@LIFETIMEBRANDS.C                   TRADE
        NEW YORK, NY 10155                  OM                                            PAYABLE                                                           $3,279,438.28

        KEPLER GROUP LLC                    HANNAH GROBMYER
16
        P O BOX 419271                      (646)-524-6896                                 TRADE
        BOSTON, MA 02241                    HGROBMYER@KEPLERGRP.COM                       PAYABLE                                                           $3,260,123.50
                                            VANNESCIA WATKINS-BANKS
        WILLIAM CARTER CO.                  (646)-677-0866
17
        3438 PEACHTREE ROAD NE              VANNESCIA.WATKINS-                             TRADE
        ATLANTA, GA 30326                   BANKS@CARTERS.COM                             PAYABLE                                                           $3,143,426.77

        TESTRITE PRODUCTS CORP.             CLAUDIA VEGA
18
        1900 S BURGUNDY PLACE               (909)-605-9899                                 TRADE
        ONTARIO, CA 91761                   CLAUDIA.V@TESTRITE-USA.COM                    PAYABLE                                                           $3,051,808.69

        VERIZON BUSINESS NETWORK            NORMA MCEWAN
19
        ONE VERIZON WAY                     (866)-925-0077                                 TRADE
        BASKING RIDGE, NJ 07920             NORMA.MCEWAN@VERIZON.COM                      PAYABLE                                                           $2,962,792.95

        Pinterest, Inc.                     COLE REUTTER
20
        651 BRANNAN ST                      (415)-62-7100                                  TRADE
        SAN FRANCISCO, CA 94107             AR@PINTEREST.COM                              PAYABLE                                                           $2,839,480.57

Official Form 204                                 List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                      Page 2
             Case 23-13430-VFP                Doc 1       Filed 04/23/23 Entered 04/23/23 08:04:27                                        Desc Main
                                                         Document     Page 10 of 122
 Name of creditor and complete mailing     Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
     address, including zip code              address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                     example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                       debts, bank          disputed        secured, fill in total claim amount and
                                                                                          loans,                            deduction for value of collateral or setoff to
                                                                                      professional                          calculate unsecured claim.
                                                                                      services, and                          Total      Deduction         Unsecured claim
                                                                                      government                            claim, if   for value
                                                                                        contracts)                          partially       of
                                                                                                                            secured     collateral
                                                                                                                                        or setoff


      BRIDGETREE LLC                     MICHELE BOVE
21
      133 NORTH MAIN STREET              (704)-604-8708                                 TRADE
      MOORESVILLE, NC 28115              MBOVE@BRIDGETREE.COM                          PAYABLE                                                           $2,658,031.85
      CITRUS AD INTERNATIONAL            STEPHANIE RICHMOND
      INC                                (813)-451-4794
22
      P.O. BOX 7410138                   STEPHANIE.RICHMOND@CITRUSAD.                   TRADE
      Chicago, IL 60674                  COM                                           PAYABLE                                                           $2,639,065.54
      KEURIG GREEN MOUNTAIN
      INC.                               ANDREW ARCHAMBAULT
23
      PO BOX 414159                      (781)-460-4507                                 TRADE
      BOSTON, MA 02241                   ARCHAMBAULT@KEURIG.COM                        PAYABLE                                                           $2,637,919.04

      THE KNOT WORLDWIDE INC             ASHLEY BERGEN
24
      PO BOX 32177                       (877)-331-7752                                 TRADE
      NEW YORK, NY 10087                 ABERGEN@THEKNOTWW.COM                         PAYABLE                                                           $2,628,538.02
      SHARKNINJA SALES
      COMPANY                            CAROL WEINBERG
25
      89 A STREET                        (855)-427-5127                                 TRADE
      NEEDHAM, MA 02494                  CWEINBERG@SHARKNINJA.COM                      PAYABLE                                                           $2,622,349.48

      LENOX CORPORATION                  CYNTHIA LAFFERTY
26
      1414 RADCLIFFE STREET              (732)-642-7332                                 TRADE
      BRISTOL, PA 19007                  CYNTHIA_LAFFERTY@LENOX.COM                    PAYABLE                                                           $2,578,451.71
                                         DEBORAH COLEY
      BLUE YONDER INC                    (480)-308-3000
27
      15059 N SCOTTSDALE RD              DEBORAH.COLEY@BLUEYONDER.CO                    TRADE
      SCOTTSDALE, AZ 85254               M                                             PAYABLE                                                           $2,483,355.00

      F 3 METALWORX INC                  LORENA UNTALAN
28
      12069 EAST MAIN ROAD               (716)-439-8771                                 TRADE
      NORTH EAST, PA 16428               LUNTALAN@F3METALWORX.COM                      PAYABLE                                                           $2,480,004.13

      MADIX INC.                         SCOTT SCHERBAK
29
      500 AIRPORT RD                     (800)-527-2129                                 TRADE
      TERRELL, TX 75160                  SSCHERBA@MADIXINC.COM                         PAYABLE                                                           $2,453,870.05
      GRANITE                            LISA BURTON
      TELECOMMUNICATIONS LLC             (866)-847-5500
30
      P.O. BOX 983119                    LMARIEBURTON@GRANITENET.CO                     TRADE
      BOSTON, MA 02298                   M                                             PAYABLE                                                           $2,413,661.88




Official Form 204                              List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                      Page 3
Case 23-13430-VFP         Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27              Desc Main
                                  Document     Page 11 of 122


                       OMNIBUS WRITTEN CONSENT
                 OF THE BOARD OF DIRECTORS, MANAGERS,
         OR SIMILAR GOVERNING BODY, AS APPLICABLE, OF EACH OF
        THE COMPANIES SET FORTH ON EXHIBIT A ATTACHED HERETO

                                          April 22, 2023

         We, the undersigned, are the requisite members of the board of directors, managers, or
 similar governing body (each, an “Authorizing Body” and, collectively, the “Authorizing
 Bodies”) of certain of the Bed Bath & Beyond Inc. subsidiaries set forth on Exhibit A attached
 hereto (each a “Company” and collectively, the “Companies”), and each organized and
 existing under the internal laws of the state of incorporation or formation, as applicable, as set
 forth in each Company’s charter of incorporation or applicable governing agreement. Each
 Authorizing Body hereby takes the following actions and adopts the following resolutions by
 unanimous written consent pursuant to each Company’s bylaws, limited liability company
 agreement, or such similar operating document and the applicable laws of the state or country
 of incorporation or formation, as applicable, of each Company.

 1.     Resolutions.

        WHEREAS, the Authorizing Bodies, having reviewed and considered (i) the filing of
 a voluntary petition for relief for the Company under the provisions of chapter 11 of title 11 of
 the United States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) pursuant
 to applicable law and in accordance with the requirements of the Company’s governing
 documents and applicable law (the “Restructuring Matters”); and (ii) to the extent applicable,
 authorizing entry into and performance under the DIP Facility Documents as defined herein,

        WHEREAS, the Authorizing Bodies having reviewed and considered the materials
 presented by the management of the Companies and the Companies’ financial and legal
 advisors, and having had adequate opportunity to consult such persons regarding the materials
 presented, obtain additional information, and to fully consider each of the strategic alternatives
 available to the Companies,

        NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the articles of
 incorporation and applicable governing documents of the Companies, the undersigned do
 hereby adopt the following resolutions:

        Chapter 11 Filing

         RESOLVED, in the business judgment of the Authorizing Bodies it is desirable and in
 the best interest of the Companies, the stakeholders, the creditors, and other parties in interest,
 that each Company files or causes to be filed voluntary petitions for relief (the “Bankruptcy
 Petitions”) under the provisions of chapter 11 of the Bankruptcy Code in the United States
 Bankruptcy Court for the District of New Jersey, and any other petition for relief or recognition
 or other order that may be desirable under applicable law in the United States, and, in
 accordance with the requirements in each Company’s governing documents and applicable law,
 hereby consents to, authorizes and approves, the filing of the Bankruptcy Petitions;

        RESOLVED, any director or other duly appointed officer of the Companies or of Bed
 Bath & Beyond (collectively, the “Authorized Persons”), which shall include the Chief
 Restructuring Officer, the Chief Executive Officer, Chief Financial Officer, General Counsel,
Case 23-13430-VFP         Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27              Desc Main
                                  Document     Page 12 of 122


 any Executive Vice President, or any Senior Vice President, shall be, and each of them
 individually hereby is, authorized and directed for and on behalf of each Company to take all
 actions (including, without limitation, to negotiate and execute any documents, certificates,
 supplemental agreements, and instruments) to act as signatory and attorney on behalf of each
 Company in respect of the Restructuring Matters and/or any persons to whom such Authorized
 Persons and/or officers delegate certain responsibilities, be, and hereby are, authorized to
 execute and file on behalf of each Company all petitions, schedules, lists, and other motions,
 papers, or documents, and to take any and all action that they deem necessary or proper to obtain
 such relief, including, but not limited to, any action necessary or proper to maintain the ordinary
 course operations of each Company’s or any of its subsidiary’s businesses.

        Appointment of Chief Restructuring Officer

        RESOLVED, that Holly Etlin be, and hereby is, appointed to serve as the Chief
 Restructuring Officer of each Company;

       RESOLVED, the Chief Restructuring Officer shall have such authority with respect to
 the Companies as is described in that certain engagement letter dated as of April 21, 2023, by
 and among the Company and AP Services, LLC (the “Engagement Letter”);

         RESOLVED, that Ms. Etlin shall be and is hereby authorized to manage the chapter 11
 cases and court-supervised liquidation and sale process, and shall report directly to and serve at
 the direction of an ad hoc committee of the following directors of the Boards, Carol Flaton,
 Pamela Corrie, Jonathan Foster, and Joshua Schechter, in accordance with the terms and
 conditions of the Engagement Letter and these resolutions;

         RESOLVED, that the Engagement Letter is hereby approved, and any Authorized
 Person, acting alone or with one or more Authorized Persons, be, and each of them hereby is,
 authorized, empowered, and directed to execute, deliver, and perform each Company’s
 obligations under the Engagement Letter on behalf of the Companies and in its name with such
 changes therein or additions, deletions, or modifications thereto as the Authorized Person
 signing the same may approve, such approval may be conclusively evidenced by such
 Authorized Person’s execution and delivery of the Engagement Letter.

        Retention of Professionals

         RESOLVED, each of the Authorized Persons, be, and hereby are, authorized,
 empowered, and directed to employ on behalf of each Company: (i) the law firm of Kirkland
 & Ellis LLP and Kirkland & Ellis International LLP (together, “Kirkland”) as bankruptcy
 counsel; (ii) the law firm of Cole Schotz as local bankruptcy counsel; (iii) Lazard as investment
 banker; (iv) AlixPartners LLP as restructuring advisor; (v) Deloitte as tax advisor; (vi) Kroll
 Restructuring Administration as claims and noticing agent; and (vii) any other legal counsel,
 accountants, financial advisors, restructuring advisors or other professionals the Authorized
 Persons deem necessary, appropriate or advisable; each to represent and assist the Companies
 in carrying out its duties and responsibilities and exercising its rights under the Bankruptcy
 Code and any applicable law (including, but not limited to, the law firms filing any pleadings
 or responses); and in connection therewith, the Authorized Persons, be, and hereby are
 authorized, empowered and directed, in accordance with the terms and conditions hereof, to
 execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed
 appropriate applications for authority to retain such services; and
Case 23-13430-VFP         Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27               Desc Main
                                  Document     Page 13 of 122


        RESOLVED, each of the Authorized Persons, be, and hereby are, authorized,
 empowered and directed to execute and file all petitions, schedules, motions, lists, applications,
 pleadings, and other papers, and to perform such further actions and execute such further
 documentation that the Authorized Persons in their absolute discretion deem necessary,
 appropriate or desirable in accordance with these resolutions.

         Use of Cash Collateral, Debtor-in-Possession Financing, and Adequate Protection

          RESOLVED, to the extent applicable to the Companies, in the business judgment of
 the Authorizing Bodies it is desirable and in the best interest of the Companies, their
 stakeholders, their creditors, and other parties in interest to obtain the benefits of (i) the use of
 cash collateral, as such term is defined in section 363(a) of the Bankruptcy Code (“Cash
 Collateral”), which is security for certain of the Companies’ prepetition secured lenders (the
 “Prepetition Secured Lenders”) under certain credit facilities by and among the Companies,
 the guarantors party thereto, and the lenders party thereto; and (ii) the incurrence of debtor-in-
 possession financing obligations (“DIP Financing”) by entering into that certain Superpriority
 Senior Secured Debtor-in-Possession Term Loan Credit Agreement (together with all exhibits,
 schedules, and annexes thereto, as amended, amended and restated, supplemented, or otherwise
 modified from time to time, the “DIP Credit Agreement”) by and among Bed Bath & Beyond,
 certain of the Companies, the financial institutions from time to time party thereto and their
 successors and assigns (collectively the “DIP Lenders”), Sixth Street Specialty Lending, Inc.
 in its capacity as administrative agent for the DIP Lenders (in such capacity and together with
 any successor or assigns, the “DIP Agent”) on the terms set forth therein;

         RESOLVED, in order to use and obtain the benefits of DIP Financing and the Cash
 Collateral, and in accordance with section 363 of the Bankruptcy Code, each Company will
 provide certain adequate protection to the Prepetition Secured Lenders (the “Adequate
 Protection Obligations”) as documented in proposed interim and final orders (collectively, the
 “Financing Orders”) to be submitted for approval of the Bankruptcy Court, and, to the extent
 that each Company is required to obtain consent from the Prepetition Secured Lenders to enter
 into any of the DIP Facility Documents, as defined herein, such consent has been (or will be)
 obtained from the Consenting Creditors;

         RESOLVED, in the business judgment of the Authorizing Bodies, the form, terms, and
 provisions of the DIP Credit Agreements and such other agreements, certificates, instruments,
 receipts, petitions, motions, or other papers or documents required to consummate the
 transaction considered by the Financing Orders (collectively, the “DIP Facility Documents”),
 substantially in the forms circulated to the Authorizing Bodies, and each Company’s execution,
 delivery and performance of its obligations under the DIP Facility Documents, including
 without limitation the grant of security interests under the DIP Facility Documents, and any
 borrowings or guaranty therewith, be, and hereby are, in all respects, authorized and approved:

       RESOLVED, each Company will obtain benefits from the incurrence of the borrowings
 under the DIP Credit Agreement and the other obligations under the DIP Credit Agreement and
 the other Loan Documents (as defined in the DIP Credit Agreement) which are necessary and
 convenient to the conduct, promotion, and attainment of the business of such Company;

       RESOLVED, to the extent applicable, each Company shall be, and is hereby, authorized
 to enter into the DIP Facility Documents and incur the obligations thereunder (the “DIP
 Obligations”), including the borrowing of the loans under the DIP Credit Agreement, and other
 obligations related to the DIP Financing and to undertake any and all related transactions on
Case 23-13430-VFP         Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27              Desc Main
                                  Document     Page 14 of 122


 substantially the same terms as contemplated under the DIP Facility Documents, including
 granting liens on and security interests in its assets, including the Collateral (as defined in the
 DIP Credit Agreement), to the DIP Agent, and each of the Authorized Persons be, and hereby
 are, authorized, empowered, and directed in the name of, and on behalf of, each Company to
 execute deliver, and perform all of the obligations and the transactions contemplated under each
 of the DIP Facility Documents in the name and on behalf of each Company, with such changes,
 additions, and modifications thereto as such Authorized Person shall approve, with such
 approval to be conclusively evidenced by such Authorized Person’s execution and delivery
 thereof;

        RESOLVED, each of the Authorized Persons be, and hereby are, authorized, in the name
 and on behalf of each Company, to take all such further actions, or cause all such further actions
 to be taken and to execute and deliver all such further agreements, documents, instruments,
 certificates recordings, and filings, in the name and on behalf of each Company, as in the
 determination of such Authorized Person shall be necessary, proper, or advisable in order to
 fully carry out the intent and accomplish the purposes of the foregoing resolutions and to
 consummate the transactions contemplated thereby, such authority to be conclusively evidenced
 by the execution of any document or the taking of any such action by such Authorized Person;

       RESOLVED, each of the Authorized Persons be, and hereby are, authorized, in the name
 and on behalf of each Company, to enter into any guarantees as described or contemplated by
 the DIP Facility Documents or any other documents, certificates, instruments, agreements,
 intercreditor agreements, any extension amendment, any incremental agreement, or any other
 amendment required to consummate the transactions contemplated by the DIP Facility
 Documents and perform its obligations thereunder and to guarantee the payment and
 performance of the DIP Obligations of the Companies and any other guarantor thereunder;

        RESOLVED, each of the Authorized Persons be, and hereby are, authorized,
 empowered, and directed in the name of, and on behalf of, each Company to seek authorization
 to incur the DIP Obligations and approval to use Cash Collateral pursuant to the Financing
 Orders, and any Authorized Person be, and hereby is, authorized, empowered, and directed to
 negotiate, execute, and deliver any and all agreements, instruments, or documents, by or on
 behalf of the Company, necessary to implement the postpetition financing, including the
 Adequate Protection Obligations to the Prepetition Secured Lenders in accordance with
 section 363 of the Bankruptcy Code, as well as any additional or further agreements for entry
 into the DIP Facility Documents and the use of Cash Collateral in connection with the chapter
 11 case, which agreements may require the Companies to grant adequate protection and liens
 to the Prepetition Secured Lenders and each other agreement, instrument, or document to be
 executed and delivered in connection therewith, by or on behalf of the Companies pursuant
 thereto or in connection therewith, all with such changes therein and additions thereto as any
 Authorized Person approves, such approval to be conclusively evidenced by the taking of such
 action or by the execution and delivery thereof;

       RESOLVED, each of the Authorized Persons be, and hereby are, authorized, directed,
 and empowered, in the name of, and on behalf of, each Company to take such actions and
 negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause the
 performance of, each of the transactions contemplated by the DIP Facility Documents and such
 other agreements, certificates, instruments, receipts, petitions, motions, or other papers or
 required documents to which each Company is or will be party or any order entered into in
 connection with the chapter 11 case (together with the DIP Facility Documents and the
 Financing Orders, collectively, the “Financing Documents”) and to incur and pay or cause to
Case 23-13430-VFP        Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27             Desc Main
                                 Document     Page 15 of 122


 be paid all related fees and expenses, with such changes, additions and modifications thereto as
 an Authorized Person executing the same shall approve;

       RESOLVED, the Companies, as debtors and debtors-in-possession under the Bankruptcy
 Code be, and hereby are, authorized, empowered, and directed to incur any and all obligations
 and to undertake any and all related transactions on substantially the same terms as
 contemplated under the Financing Documents, including granting liens on its assets to secure
 such obligations; and

        RESOLVED, each of the Authorized Persons, be, and hereby are, authorized,
 empowered, and directed in the name of, and on behalf of, each Company, to execute and
 deliver any amendments, supplements, modifications, renewals, replacements, consolidations,
 substitutions, and extensions of the postpetition financing or any of the Financing Documents
 or to do such other things which shall in his or her sole business judgment be necessary,
 desirable, proper, or advisable in order to perform the DIP Obligations and to give effect to the
 foregoing resolutions, which determination shall be conclusively evidenced by his or her or
 their execution thereof.

        Further Actions and Prior Actions

         RESOLVED, the Companies are hereby authorized to authorize (and each Company
 hereby authorizes) any direct or indirect subsidiary of each Company or any entity of which
 such Company or any subsidiary of such Company is the sole member, general partner,
 managing member, or equivalent manager, as applicable, to take each of the actions described
 in these resolutions or any of the actions authorized in these resolutions, and none of the
 resolutions contained herein, or action taken in furtherance hereto, shall have or cause an
 adverse effect on any such subsidiary or such Company’s interest therein (including without
 limitation, any automatic dissolution, divestiture, dissociation, or like event under
 applicable law).

        RESOLVED, in addition to the specific authorizations heretofore conferred upon the
 Authorized Persons, the Authorized Persons, either individually or as otherwise required by
 each Company’s governing documents and applicable law, be, and each of them hereby is,
 authorized to execute, acknowledge, deliver, and file any and all agreements, certificates,
 instruments, powers of attorney, letters, forms, transfer, deeds and other documents on behalf
 of each Company relating to the Restructuring Matters.

         RESOLVED, each of the Authorized Persons (and their designees and delegates) be,
 and hereby is, authorized and empowered, in the name of and on behalf of each Company, to
 take or cause to be taken any all such other and further action, and to execute, acknowledge,
 deliver, and file any and all such agreements, certificates, instruments, and other documents and
 to pay all expenses, including but not limited to filing fees, in each case as in such Authorized
 Person’s or Authorized Persons’ absolute discretion, shall be necessary, appropriate, or
 desirable in order to fully carry out the intent and accomplish the purposes of the resolution
 adopted herein.

         RESOLVED, the Authorizing Bodies have received sufficient notice of the actions and
 transactions relating to the matters contemplated by the foregoing resolutions, as may be
 required by the governing documents of each Company, or hereby waives any right to have
 received such notice.
Case 23-13430-VFP         Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27              Desc Main
                                  Document     Page 16 of 122




         RESOLVED, all acts, actions, and transactions relating to the matters contemplated by
 the foregoing resolutions done in the name of and on behalf of each Company, which acts would
 have been approved by the foregoing resolutions except that such acts were taken before the
 adoption of these resolutions, are hereby in all respects approved, confirmed and ratified as the
 true acts and deeds of each Company with the same force and effect as if each such act,
 transaction, agreement, or certificate had been specifically authorized in advance by resolution
 of the Authorizing Bodies.

         RESOLVED, any Authorized Person be, and each of them hereby is, authorized to do
 all such other acts, deeds and other things as each Company itself may lawfully do, in
 accordance with its governing documents and applicable law, howsoever arising in connection
 with the matters above, or in furtherance of the intentions expressed in the foregoing resolutions,
 including, but not limited to, the negotiation, finalization, execution and delivery of any other
 agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds and
 other documents whatsoever as the individual acting may in his/her absolute and unfettered
 discretion approve, deem or determine necessary, appropriate or advisable, such approval,
 deeming or determination to be conclusively evidenced by said individual taking such action or
 the execution thereof.

                                  *       *      *       *       *

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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 17 of 122




            IN WITNESS WHEREOF, the undersigned have executed this resolution as of the date first
            set forth above.




                                                             ALAMO BED BATH & BEYOND INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27                  Desc Main
                                               Document     Page 18 of 122
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                                                              BBB CANADA LP INC.



                                                              By:
                                                              Name: Laura Crossen



                                                              By:
                                                              Name: Jonathan Foster



                                                              By:
                                                              Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27                  Desc Main
                                               Document     Page 19 of 122
                                              K&E Draft 04/21/2023; Privileged and Confidential; Attorney Work Product


                                                              BBB CANADA LP INC.



                                                              By:
                                                              Name: Laura Crossen



                                                              By:
                                                              Name: Jonathan Foster



                                                              By:
                                                              Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27                  Desc Main
                                               Document     Page 20 of 122
                                              K&E Draft 04/21/2023; Privileged and Confidential; Attorney Work Product


                                                              BBB CANADA LP INC.



                                                              By:
                                                              Name: Laura Crossen



                                                              By:
                                                              Name: Jonathan Foster



                                                              By:
                                                              Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 21 of 122




                                                             BBB VALUE SERVICES INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 22 of 122




                                                             BBB VALUE SERVICES INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 23 of 122




                                                             BBB VALUE SERVICES INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 24 of 122


                                                             BBBY MANAGEMENT CORPORATION



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 25 of 122


                                                             BBBY MANAGEMENT CORPORATION



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 26 of 122


                                                             BBBY MANAGEMENT CORPORATION



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 27 of 122


                                                             BBBYCF LLC



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 28 of 122


                                                             BBBYCF LLC



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 29 of 122


                                                             BBBYCF LLC



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 30 of 122


                                                             BBBYTF LLC



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 31 of 122


                                                             BBBYTF LLC



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 32 of 122


                                                             BBBYTF LLC



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 33 of 122


                                                             BED BATH & BEYOND OF ANNAPOLIS,
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
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                                               Document     Page 34 of 122


                                                             BED BATH & BEYOND OF ARUNDEL
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 35 of 122


                                                             BED BATH & BEYOND OF BATON
                                                             ROUGE INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 36 of 122


                                                             BED BATH & BEYOND OF BIRMINGHAM
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 37 of 122


                                                             BED BATH & BEYOND OF
                                                             BRIDGEWATER INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 38 of 122


                                                             BED BATH & BEYOND OF CALIFORNIA
                                                             LIMITED LIABILITY COMPANY



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 39 of 122


                                                             BED BATH & BEYOND OF CALIFORNIA
                                                             LIMITED LIABILITY COMPANY



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 40 of 122


                                                             BED BATH & BEYOND OF CALIFORNIA
                                                             LIMITED LIABILITY COMPANY



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 41 of 122


                                                             BED BATH & BEYOND OF DAVENPORT
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 42 of 122


                                                             BED BATH & BEYOND OF EAST
                                                             HANOVER INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 43 of 122


                                                             BED BATH & BEYOND OF EDGEWATER
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 44 of 122


                                                             BED BATH & BEYOND OF FALLS
                                                             CHURCH, INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 45 of 122


                                                             BED BATH & BEYOND OF FASHION
                                                             CENTER, INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 46 of 122


                                                             BED BATH & BEYOND OF FREDERICK,
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 47 of 122


                                                             BED BATH & BEYOND OF
                                                             GAITHERSBURG INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27    Desc Main
                                               Document     Page 48 of 122


                                                             BED BATH & BEYOND OF GALLERY
                                                             PLACE L.L.C.



                                                             By: bed n’ bath Stores, Inc.
                                                             Its: Sole Member



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27    Desc Main
                                               Document     Page 49 of 122


                                                             BED BATH & BEYOND OF GALLERY
                                                             PLACE L.L.C.



                                                             By: bed n’ bath Stores, Inc.
                                                             Its: Sole Member



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27    Desc Main
                                               Document     Page 50 of 122


                                                             BED BATH & BEYOND OF GALLERY
                                                             PLACE L.L.C.



                                                             By: bed n’ bath Stores, Inc.
                                                             Its: Sole Member



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 51 of 122


                                                             BED BATH & BEYOND OF KNOXVILLE
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 52 of 122


                                                             BED BATH & BEYOND OF LEXINGTON
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 53 of 122


                                                             BED BATH & BEYOND OF LINCOLN
                                                             PARK INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 54 of 122


                                                             BED BATH & BEYOND OF LOUISVILLE
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 55 of 122


                                                             BED BATH & BEYOND OF MANDEVILLE
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 56 of 122


                                                             BED BATH & BEYOND OF OPRY INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 57 of 122


                                                             BED BATH & BEYOND OF OVERLAND
                                                             PARK INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 58 of 122


                                                             BED BATH & BEYOND OF PALM DESERT
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 59 of 122


                                                             BED BATH & BEYOND OF PARADISE
                                                             VALLEY INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 60 of 122


                                                             BED BATH & BEYOND OF PITTSFORD
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 61 of 122


                                                             BED BATH & BEYOND OF PORTLAND
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 62 of 122


                                                             BED BATH & BEYOND OF ROCKFORD
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 63 of 122


                                                             BED BATH & BEYOND OF TOWSON INC.



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 64 of 122


                                                             BED BATH & BEYOND OF VIRGINIA
                                                             BEACH INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 65 of 122


                                                             BED BATH & BEYOND OF WALDORF
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 66 of 122


                                                             BED BATH & BEYOND OF
                                                             WOODBRIDGE INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 67 of 122


                                                             BED ‘N BATH STORES INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 68 of 122


                                                             BED ‘N BATH STORES INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 69 of 122


                                                             BED ‘N BATH STORES INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 70 of 122


                                                             BED, BATH & BEYOND OF MANHATTAN
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 71 of 122


                                                             BUY BUY BABY OF ROCKVILLE, INC.

                                                             By:
                                                             Name: Patty Wu



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 72 of 122


                                                             BUY BUY BABY OF ROCKVILLE, INC.

                                                             By:
                                                             Name: Patty Wu



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 73 of 122


                                                             BUY BUY BABY OF TOTOWA, INC.



                                                             By:
                                                             Name: Patty Wu



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 74 of 122


                                                             BUY BUY BABY OF TOTOWA, INC.



                                                             By:
                                                             Name: Patty Wu



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 75 of 122


                                                             BUY BUY BABY, INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 76 of 122


                                                             BUY BUY BABY, INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 77 of 122


                                                             BUY BUY BABY, INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 78 of 122


                                                             BWAO LLC



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 79 of 122


                                                             BWAO LLC



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 80 of 122


                                                             BWAO LLC



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 81 of 122


                                                             CHEF C HOLDINGS LLC



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 82 of 122


                                                             CHEF C HOLDINGS LLC



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 83 of 122


                                                             CHEF C HOLDINGS LLC



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 84 of 122


                                                             DECORIST, LLC



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 85 of 122


                                                             DECORIST, LLC



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 86 of 122


                                                             DECORIST, LLC



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie



                                                             By:
                                                             Name: Laura Crossen




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           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 87 of 122


                                                             DEERBROOK BED BATH & BEYOND INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 88 of 122


                                                             HARMON OF BRENTWOOD, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 89 of 122


                                                             HARMON OF CALDWELL, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 90 of 122


                                                             HARMON OF CARLSTADT, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 91 of 122


                                                             HARMON OF FRANKLIN, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 92 of 122


                                                             HARMON OF GREENBROOK II, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 93 of 122


                                                             HARMON OF HACKENSACK, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 94 of 122


                                                             HARMON OF HANOVER, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 95 of 122


                                                             HARMON OF HARTSDALE, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 96 of 122


                                                             HARMON OF MANALAPAN, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 97 of 122


                                                             HARMON OF MASSAPEQUA, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 98 of 122


                                                             HARMON OF MELVILLE, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1    Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                               Document     Page 99 of 122


                                                             HARMON OF NEW ROCHELLE, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 100 of 122


                                                             HARMON OF NEWTON, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27     Desc Main
                                            Document    Page 101 of 122


                                                             HARMON OF OLD BRIDGE, INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27    Desc Main
                                            Document    Page 102 of 122


                                                             HARMON OF PLAINVIEW, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 103 of 122


                                                             HARMON OF RARITAN, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 104 of 122


                                                             HARMON OF ROCKAWAY, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 105 of 122


                                                             HARMON OF SHREWSBURY, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 106 of 122


                                                             HARMON OF TOTOWA, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 107 of 122


                                                             HARMON OF WAYNE, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27    Desc Main
                                            Document    Page 108 of 122


                                                             HARMON OF WESTFIELD, INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 109 of 122


                                                             HARMON OF YONKERS, INC.



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 110 of 122


                                                             HARMON STORES, INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




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           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 111 of 122


                                                             HARMON STORES, INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




                                             [Signature Page to Omnibus Consent]
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           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 112 of 122


                                                             HARMON STORES, INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 113 of 122


                                                             LIBERTY PROCUREMENT CO. INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 286D6081-A63E-450C-8DE2-1B9359ECC770
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 114 of 122


                                                             LIBERTY PROCUREMENT CO. INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 1DB4A4BA-112E-49C7-A582-A3106578FD5C
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 115 of 122


                                                             LIBERTY PROCUREMENT CO. INC.



                                                             By:
                                                             Name: Laura Crossen



                                                             By:
                                                             Name: Jonathan Foster



                                                             By:
                                                             Name: Pamela Corrie




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 116 of 122


                                                             OF A KIND, INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 0FE61B36-51ED-4485-A969-497E2BD84190
           Case 23-13430-VFP            Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27     Desc Main
                                             Document    Page 117 of 122


                                                             ONE KINGS LANE LLC



                                                             By: Bed Bath & Beyond, Inc.
                                                             Its: Sole Member



                                                             By:
                                                             Name: David Kastin




                                              [Signature Page to Omnibus Consent]
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           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 118 of 122


                                                             SAN ANTONIO BED BATH & BEYOND
                                                             INC.



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
DocuSign Envelope ID: 68049A0C-6483-4697-9D47-CB8D9DCFE5A1
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 119 of 122


                                                             SPRINGFIELD BUY BUY BABY, INC.



                                                             By:
                                                             Name: Patty Wu



                                                             By:
                                                             Name: Laura Crossen




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DocuSign Envelope ID: 0146B2D9-86C7-47B7-990B-B9698A5C2C1D
           Case 23-13430-VFP           Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27   Desc Main
                                            Document    Page 120 of 122


                                                             SPRINGFIELD BUY BUY BABY, INC.



                                                             By:
                                                             Name: Patty Wu



                                                             By:
                                                             Name: Laura Crossen




                                             [Signature Page to Omnibus Consent]
Case 23-13430-VFP    Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27       Desc Main
                          Document    Page 121 of 122


                                    Exhibit A

Bed Bath & Beyond Inc.                          Bed Bath & Beyond of Paradise Valley Inc.
Alamo Bed Bath & Beyond Inc.                    Bed Bath & Beyond of Pittsford Inc.
BBB Canada LP Inc.                              Bed Bath & Beyond of Portland Inc.
BBB Value Services Inc.                         Bed Bath & Beyond of Rockford Inc.
BBBY Management Corporation                     Bed Bath & Beyond of Towson Inc.
BBBYCF LLC                                      Bed Bath & Beyond of Virginia Beach Inc.
BBBYTF LLC                                      Bed Bath & Beyond of Waldorf Inc.
Bed Bath & Beyond of Annapolis, Inc.            Bed Bath & Beyond of Woodbridge Inc.
Bed Bath & Beyond of Arundel Inc.               bed 'n bath Stores Inc.
Bed Bath & Beyond of Baton Rouge Inc.           Buy Buy Baby of Rockville, Inc.
Bed Bath & Beyond of Birmingham Inc.            Buy Buy Baby of Totowa, Inc.
Bed Bath & Beyond of Bridgewater Inc.           Buy Buy Baby, Inc.
Bed Bath & Beyond of California Limited
Liability Company                               BWAO LLC
Bed Bath & Beyond of Davenport Inc.             Chef C Holdings LLC
Bed Bath & Beyond of East Hanover Inc.          Decorist, LLC
Bed Bath & Beyond of Edgewater Inc.             Deerbrook Bed Bath & Beyond Inc.
Bed Bath & Beyond of Falls Church, Inc.         Harmon of Brentwood, Inc.
Bed Bath & Beyond of Fashion Center, Inc.       Harmon of Caldwell, Inc.
Bed Bath & Beyond of Frederick, Inc.            Harmon of Carlstadt, Inc.
Bed Bath & Beyond of Gaithersburg Inc.          Harmon of Franklin, Inc.
Bed Bath & Beyond of Gallery Place L.L.C.       Harmon of Greenbrook II, Inc.
Bed Bath & Beyond of Knoxville Inc.             Harmon of Hackensack, Inc.
Bed Bath & Beyond of Lexington Inc.             Harmon of Hanover, Inc.
Bed Bath & Beyond of Lincoln Park Inc.          Harmon of Hartsdale, Inc.
Bed Bath & Beyond of Louisville Inc.            Harmon of Manalapan, Inc.
Bed Bath & Beyond of Mandeville Inc.            Harmon of Massapequa, Inc.
Bed Bath & Beyond of Manhattan, Inc.            Harmon of Melville, Inc.
Bed Bath & Beyond of Opry Inc.                  Harmon of Newton, Inc.
Bed Bath & Beyond of Overland Park Inc.         Harmon of New Rochelle, Inc.
Bed Bath & Beyond of Palm Desert Inc.           Harmon of Old Bridge, Inc.
Harmon of Shrewsbury, Inc.                      Harmon of Plainview, Inc.
Harmon of Totowa, Inc.                          Harmon of Raritan, Inc.
Harmon of Wayne, Inc.                           Harmon of Rockaway, Inc.
Harmon of Westfield, Inc.
Harmon of Yonkers, Inc.
Harmon Stores, Inc.
Liberty Procurement Co. Inc.
Of a Kind, Inc.
One Kings Lane LLC
San Antonio Bed Bath & Beyond Inc.
Springfield Buy Buy Baby, Inc.
     Case 23-13430-VFP                     Doc 1 Filed 04/23/23 Entered 04/23/23 08:04:27                                       Desc Main
                                                Document    Page 122 of 122


    Fill in this information to identify the case and this filing:

   Debtor Name          One Kings Lane LLC

   United States Bankruptcy Court for the:                District of New Jersey
                                                                                                    (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                        04/23/2023                                  /s/
                                        MM/ DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                   Holly Etlin
                                                                                   Printed name
                                                                                   Chief Restructuring Officer
                                                                                   Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
